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                 Draft Proposed Policy for Potential “Matching” of Expenses 1
                                     Submitted by Class Counsel
                                               In Camera
                                               Oct. 9, 2013



       Based on the decision of the U.S. Fifth Circuit Court of Appeals in No. 13-30315 dated
October 2, 2013, the Claims Administrator will apply the “Variable Profit” calculation contained
within the Compensation Framework set forth in Exhibit 4C to Business Economic Loss (BEL)
Claims as follows:

1.      Accrual-basis claims are “sufficiently matched” to require no additional modification.
        Completed-contract and percentage-completion methods of accounting employ accrual
        concepts resulting in statements that are “sufficiently matched” to require no additional
        modification.

2.      In order to “sufficiently match” expenses to Benchmark and Compensation revenues in
        selected cash-basis claims, cash-basis claimants identified with North American Industry
        Classification System (“NAICS”) codes starting with 11 (except 114111, 114112, 114119,
        and 114210), 23, 31 (except 311711 and 311712), 32, 33, 42 (except 424460), 44, 45, 53, or
        54, will have the option of:

                A.      Restating their financials as accrual-basis and re-submitting to the Program;
                        or

                B.      The Program will allocate total annual variable expenses (which typically
                        vary in relationship to revenues) to each month of the calendar year in
                        proportion to that month’s percentage of total annual revenue.

                        The variable expenses to be allocated are typically the Variable Costs
                        identified in Exhibit 4D and the variable portion of Payroll Expense and
                        Costs of Goods Sold (COGS) as calculated in Exhibit 4C.

                        However, claimants will be provided with the opportunity to show that
                        certain “Variable Costs” are atypical, and should not be re-allocated.

                        Expenses identified as fixed or listed as Fixed Costs on Exhibit 4D would not
                        be subject to re-allocation.

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         Class Counsel believe that the Court could, consistent with Part I of the Fifth Circuit opinion,
determine on remand that no matching of expenses in Cash Basis claims was ever intended. However, in
accordance with the Court’s Order of October 3, 2013 [Doc 11566], Class Counsel respectfully submit this
potential draft Policy which could be applied in the event that the Court determines that such matching of
expenses should be undertaken by the Settlement Program.
